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Entered: September 20, 2019
Signed: September 20, 2019

SO ORDERED




                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF MARYLAND
                                             at Baltimore
                              In re: Case No.: 18−24305 − TJC             Chapter: 7
In Re: Debtor (names used by the debtor in the last 8 years, including married, maiden, trade, and address):

   Nahea Krashoc
   debtor has no known aliases
   707 Academy Ave
   Federalsburg, MD 21632
   Social Security No.: xxx−xx−4885
   Employer's Tax I.D. No.:


                                                FINAL DECREE

Petition for Relief under Chapter 7 of Title 11, U.S. Code was filed by or against the above−named debtor on
10/29/18.

The estate of the above−named debtor has been fully administered.

ORDERED, that Charles R. Goldstein is discharged as trustee of the estate of the above−named debtor; and the
Chapter 7 case of the above named debtor is closed.



                                                    End of Order
fnldec − smckenna
